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                                        ORIGINAL
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                                                )
 SISHYA BUDDHI-ANGAVU,                          )                                             FILED
 a/k/a CHARLES ORLANDO FIELDS,                  )
                                                )                                           FEB 1 6 2018
                        Plaintiff,              )               No. 17-1073C             U.S. COURT OF
                                                )                                       FEDERAL CLAIMS
 v.                                             )               Filed: February 16, 2018
                                                )
 THE UNITED STATES,                             )
                                                )
                        Defendant.              )
~~~~~~~~~~~~~~- )

                                        DISMISSAL ORDER

        Plaintiff, prose, Sishya Buddhi-Angavu, also known as Charles Orlando Fields,
commenced this action on August 4, 2017 (docket entry no. 1). On October 5, 2017, the
government filed a motion to dismiss this matter for lack of subject-matter jurisdiction and for
failure to state a claim upon which relief may be granted, pursuant to Rules 12(b)(l) and (b)(6)
of the Rules of the United States Court of Federal Clams (" RCFC") (docket entry no. 6).

        On January 18, 2018, the Court issued an Order that, among other things, directed
plaintiff to respond to the government's motion to dismiss on or before February 8, 2018 (docket
entry no . 14). In the Order, the Court also informed plaintiff that, should he fail to respond to the
government's motion to dismiss by February 8, 2018, the Court would treat such failure to
respond as a failure to comply with a court order and to prosecute this matter pursuant to RCFC
4 l(b). Plaintiff did not fi le a response to the government's motion to dismiss by February 8,
2018.

        And so, the Court:

        1. DISMISSES the complaint without prejudice, pursuant to RCFC 41(b); and




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2. Directs the Clerk' s Office to ENTER final judgment consistent with this Order.

No costs.

IT IS SO ORDERED.




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